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 1 Whitney C. Wilcher, Esq.
 2 THE WILCHER FIRM
   Nevada State Bar No. 7212
 3 8465 West Sahara Avenue
   Suite 111-236
 4 Las Vegas, NV 89117
   (702) 466-1959
 5 Email: wcw@nevadaada.com
 6 Attorney for Plaintiff
 7                      IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEVADA
 8
      Kevin Zimmerman, an Individual,
 9                                                Civil Action No: 17-cv-01342-GMN-GWF
10                          Plaintiff,
      v.
11                                                 NOTICE OF VOLUNTARY DISMISSAL
      Sunflower Farmers Markets, LLC
12    DBA Sprouts Farmers Markets,                          WITHOUT PREJUDICE

13
                            Defendant,
14
15            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
16          PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure 41
17 (a)(1)(A)(i), Plaintiff, Kevin Zimmerman, hereby voluntarily dismisses this action without
18
     prejudice.
19
            RESPECTFULLY submitted this 14th day of June, 2017.
20
21                                                      /s/ Whitney C. Wilcher
                                                        Whitney C. Wilcher, Esq.
22                                                      THE WILCHER FIRM
                                                        Nevada State Bar No. 7212
23                                                      8465 West Sahara Avenue
                                                        Suite 111-236
24                                                      Las Vegas, NV 89117
                                                        Email: wcw@nevadaada.com
25                                                      Attorney for Plaintiff
26
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          Case 2:17-cv-01342-GMN-GWF Document 8 Filed 06/14/17 Page 2 of 2



 1                                  CERTIFICATE OF SERVICE
 2

 3        I hereby certify that on this 14TH day of June, 2017, I electronically transmitted
   the foregoing document to the Clerk’s Office using the CM/ECF System for filing and
 4 transmittal of NEF notifications and emailed the same to:
 5
 6
   Amber L. Roller
 7 Ogletree, Deakins, Nash, Smoak & Stewart, P.C.
   400 South Hope St. Ste 1200
 8 Los Angeles, CA 90071
   Amber.roller@ogletree.com
 9 Attorney for Defendant
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